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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WISCONSIN

A&L Industries, LLC,

Plaintiff/Counter-Defendant,
Vv. Case No, 20-cv-552

Weaver Enterprises, Ltd.,
Defendant,
Oak Leaf Outdoors, Inc.,

Defendant/Counter-Plaintiff,
v,

A&L Industries, LLC and
Andrae D'Acquisto,

Counter-Defendants.

 

ORDER FOR CONSENT JUDGMENT

 

 

A &L Industries, LLC, Andrae D’Acquisto, Weaver Enterprises, Ltd., and
Oak Leaf Outdoors, Inc. having agreed to the entry of this consent judgment as a
compromise and not an admission of liability by any party, it is ORDERED,
ADJUDGED and DECREED as follows:

1. This court has jurisdiction over the subject matter of this action and
jurisdiction over both the Plaintiff, Defendants, Counter-Plaintiff, and
Counter-Defendants.

2. Weaver Enterprises, Ltd. (Weaver) and Andrae D’Acqusito

(D’Acquisto) are dismissed from this action.

 

 

 

 

 
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3. Judgment is hereby entered in favor of A&L Industries, LLC (A&L
Industries) against Oak Leaf Outdoors, Inc. (Oak Leaf) on A&L
Industries’ three trademark claims (Counts I-IID and its breach of
contract claim (Count IV) regarding Oak Leaf’s use of the LONE
WOLF® mark after the termination of the license agreement on
October 15, 2018.

A, Oak Leaf and Weaver Enterprises, Ltd. (Weaver) waive all claims,
affirmative defenses, and counterclaims which have been or could have
been raised in this action including all claims, affirmative defenses,
and counterclaims asserting that A&L Industries and/or D’Acquisto
has engaged in or committed trademark infringement, violation of the
Lanham Act, common law trademark infringement or unfair
competition, breach of contract, violation of the Illinois Franchise
Disclosure Act, or that the trademarks are invalid or unenforceable for
any reason including failure to acquire rights of ownership,
abandonment, estoppel, laches, or naked licensing, as well as any
claims seeking cancellation of Plaintiffs trademarks or asserting
violation.

5. A&lL Industries’ trademarks identified in the complaint are valid,
enforceable, and owned by A&L Industries.

6. Oak Leaf shall pay to A&L Industries the sum of Five Hundred

Thousand Dollars ($500,000.00) in two payments. The first payment of

 
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$300,000.00 shall be paid into the trust account of A&L Industries’
attorneys Ryan Kromholz & Manion, §.C. (RKM) within 5 days of the
entry of this judgment. The second payment of $200,000 shall be paid
into the trust account of A&L Industries’ attorneys Ryan Kromholz &
Manion, S.C. (RKM) on or before 3 January 2022.

7. Oak Leaf shall secure the agreement of Dennis Owens to assign,
effective 1 January 2022, all right, title, and interest throughout the
world in the United States Trademark Registration No. 6114608, dated
July 28, 2020, for ALPHA to A&L Industries. Further, Oak Leaf will
not use its Wolf Head logo (U.S. Trademark registration 407763 1) with
any hunting-related products except in accordance with this Order.

All other claims by A&L Industries and D’Acquisto for any relief of any
kind not provided for in this Consent Judgment (including monetary
relief and attorney fees) arising out of claims accruing through the
date of this Consent Judgment are dismissed with prejudice.

8. Each party is to bear its own costs and attorney fees.

9. Oak Leaf Outdoors, Inc., its officers, agents, servants, employees, and
those persons or entities in active concert or participation with them
who receive actual notice of this PERMANENT INJUNCTION, are
hereby permanently enjoined (A) from expressly or impliedly
representing themselves to customers, potential customers, suppliers,

potential suppliers, or the public to be affiliated in any way with

 
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Plaintiff; (B) from representing by words or conduct that any product
or service provided, offered for sale, sold, advertised, or rendered by
the Defendants is supplied, authorized, sponsored or endorsed by or
otherwise connected to Plaintiff; (C) from competing unfairly with
Plaintiff in any manner by improperly using the Plaintiff's LONE
WOLF word mark to cause consumer confusion as to the source of
either Plaintiffs or Defendant’s goods and services: (D) from using
Plaintiffs LONE WOLF word mark for any commercial purpose,
including in labels, signage, search engine optimization, coding
statements, metatags, domain names, and advertising: and (E) from
otherwise infringing the Plaintiffs LONE WOLF word mark: all of the
foregoing with the proviso that Oak Leaf shall have through 31
December 2021 to sell off its current LONE WOLF-branded inventory
(including by completing assembly of such inventory), to meet current
open commitments to retailers, and prevent damage to the LONE
WOLF brand, and for these purposes Oak Leaf may continue to use the
LONE WOLF mark, ALPHA mark, and Wolf Head logo in the same
manner in which it currently does through 31 December 2021. For the ;
avoidance of doubt, Plaintiff shall have no claim whatsoever to any
revenues received by Oak Leaf from sales made in accordance with this

paragraph 9.

 

 
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10.

11.

It is ordered that the Defendants shall by 3 January 2022 destroy or
deliver up for destruction or sale by A&L Industries all product, labels,
signs, prints, insignia, letterhead, brochures, business cards, invoices
and any other written or recorded material or advertisements in their
possession or control containing the Plaintiffs LONE WOLF word
mark or the ALPHA name; and by the same date Oak Leaf shall
discontinue use of the domain name
https://lonewolfhuntingproducts.com/ and discontinue use of LONE
WOLF® on all social media sites, including
https://www.facebook.com/lonewolfstands,
https://www.instagram.com/lonewolfstands/,

https:/Awitter.com/Lone WolfStands. Further, by the same date, Defendants
will initiate the transfer of the aforementioned domain name to A&L,
and will make reasonable efforts to transfer control of the
aforementioned social media accounts to A&L. A&L will provide all
reasonably necessary cooperation to facilitate these transfers.

It is ordered that the Defendants by 1 February 2022 file with this
Court and serve on Plaintiff a report in writing, under oath, setting
forth in detail the manner and form in which the Defendants have

complied with the terms of this PERMANENT INJUNCTION,

 
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12. This PERMANENT INJUNCTION shall remain in effect until the
following events occurs: the expiration or express abandonment of
Plaintiffs trademarks in suit.

13. This Judgment has been unconditionally accepted by authorized
representatives of Plaintiff and Defendants.

14, ‘The court retains jurisdiction to enforce this Order.

Z itt
Entered this L day of SEPrENBER. , 2021.

 

 

STEPHEN L. CROCKER
Magistrate Judge

Entered this? Seay of September, 2021.

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PETER OPPENEER
Clerk of Court

 
